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               Exhibit A
      Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                Page 2 of 13 PageID 7374

Section Line
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND              SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number              -
         3     Case Number                    3:11-CV-00882-O
               Period Covered in this Report:
         4      From 12/8/2011
         5      To     7/17/2018




  B            Increases in Fund Balance
         1          Contributions/Deposits                       $   1,573,800.81
         2          Investment/Interest Income                             754.57
         3          Other - Deposit from Receiver                          156.59

                        Subtotal Funds Received                                      $   1,574,711.97

  C            Decreases in Fund Balance
         1         Gross Distributions to Claimants/Investors
                   Less Returned & Cancelled Checks
                                                                      (994,999.76)
                   Distributions to Claimants/Investors, Net                              (994,999.76)
                   Payments to Other than Claimants/Investors:
         2            Plan Administration Fees and Costs              (352,230.37)
         3            Tax Administrator Fees and Expenses                     -
         4            Investment/Bank Fees                                 (30.37)
                      Income Tax Payments, Net of Refunds
         5                        Federal                                     -
         6                        District of Columbia/State                  -
         7            Other - describe                                        -

                        Subtotal Disbursements                                            (352,260.74)

  D            Ending Balance                                                        $    227,451.47
           Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                                  Page 3 of 13 PageID 7375

Section Line     SUMMARY OF DETAIL by ACCOUNTS by ACCOUNT MANAGERS for
                 CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A        1     DISTRIBUTION FUND SEC V ALLEN RECEIVERSHIP
           2     SEC Action Number       -
           3     Case Number             3:11-CV-00882-O
                 Period Covered in this Report:
           4      From 12/8/2011
           5      To     7/17/2018



                                                                                Court             Plan Admin.        Total

  B              Increases in Fund Balance
           1          Contributions/Deposits                                    900,399.10          673,401.71     1,573,800.81
           2          Investment/Interest Income                                    754.57                 -             754.57
           3          Other - Deposit from Receiver                                    -                156.59           156.59


                          Subtotal Funds Received                               901,153.67          673,558.30     1,574,711.97
  C              Decreases in Fund Balance
           1         Distributions to Claimants/Investors, Net                          -           (994,999.76)    (994,999.76)
                      Payments to Other than Claimants/Investors:
           2             Plan Administration Fees and Costs                             -           (352,230.37)    (352,230.37)
           3             Tax Administrator Fees and Expenses                            -                   -               -
           4             Investment/Bank Fees                                        (30.37)                -            (30.37)
                         Income Tax Payments, Net of Refunds
           5                         Federal                                            -                   -                -
           6                         District of Columbia/State                         -                   -                -
           7             Other - describe                                               -                   -                -

                          Subtotal Disbursements                                     (30.37)      (1,347,230.13)   (1,347,260.50)
 Trf             Transfers
           1         To Plan Administrator                                      (864,731.30)               -        (864,731.30)
           2         From Plan Administrator                                            -                  -                -
           3         To Tax Administrator                                               -                  -                -
           4         From Tax Administrator                                             -                  -                -
           5         Between Accounts Held by Account Manager                           -                  -                -
           6         To Court                                                                              -                -
           7         From Court                                                                     864,731.30       864,731.30

                          Subtotal Transfers                                    (864,731.30)        864,731.30               -


  D              Ending Balance                                                  36,392.00          191,059.47       227,451.47



  E              Fund Information: Tranches from Inception
                     See Plan Administrator's exhibit for detail information.




       SEC v Allen Receivership
       Summary
       Exhibit A to CFAR
       Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                        Page 4 of 13 PageID 7376
Section Line   U.S. DISTRICT COURT DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND                   SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number                   -
         3     AP File No. / Case Number           3:11-CV-00882-O
               Period Covered in this Report:
         4      From                                  12/8/2011
         5      To                                    7/17/2018

                                                                               Northern District of
                                                                                     Texas
                                                                               SEC v Allen et al
                                                                               3:11-CV-00882-O

               DESCRIPTION                                       DATE             AMOUNT              TOTAL


  B      1     CONTRIBUTIONS/DEPOSITS
               Settlement Funds Deposited                          2011             114,339.22        114,339.22
               Settlement Funds Deposited                          2012             174,110.00        174,110.00
               Settlement Funds Deposited                          2014             576,982.86        576,982.86
               Settlement Funds Deposited                          2015              10,320.42         10,320.42
               Settlement Funds Deposited                          2016              10,758.64         10,758.64
               Settlement Funds Deposited                          2017              10,258.64         10,258.64
               Settlement Funds Deposited                      1/1-7/17/2018          3,629.32          3,629.32
                                                                                                             -
               Total to Line B 1                                                    900,399.10        900,399.10



  B      2     INVESTMENT/INTEREST EARNINGS
               Total Earnings Posted to Account Annual Total       2011                   0.14             0.14
               Total Earnings Posted to Account Annual Total       2012                  89.67            89.67
               Total Earnings Posted to Account Annual Total       2013                  65.96            65.96
               Total Earnings Posted to Account Annual Total       2014                 108.31           108.31
               Total Earnings Posted to Account Annual Total       2015                   1.77             1.77
               Total Earnings Posted to Account Annual Total       2016                  34.56            34.56
               Total Earnings Posted to Account Annual Total       2017                 196.72           196.72
               Total Earnings Posted to Account Annual Total   1/1-7/17/2018            257.44           257.44
                                                                                                            -
               Total to Line B 2                                                        754.57           754.57



  B      3     OTHER INCREASES IN FUND BALANCE
                                                                                                              -
               Total to Line B 3                                                            -                 -



  C      1     DISBURSEMENTS TO INVESTORS
                                                                                                              -
               Total to Line C 1                                                            -                 -




   SEC v Allen Receivership
   Court detail by account
   Exhibit B - To CFAR page 3 of 12
       Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                Page 5 of 13 PageID 7377
Section Line   U.S. DISTRICT COURT DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND                   SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number                   -
         3     AP File No. / Case Number           3:11-CV-00882-O
               Period Covered in this Report:
         4      From                                  12/8/2011
         5      To                                    7/17/2018

                                                                       Northern District of
                                                                             Texas
                                                                       SEC v Allen et al
                                                                       3:11-CV-00882-O

               DESCRIPTION                                      DATE      AMOUNT              TOTAL


  C      2     PLAN ADMINISTRATION FEES and COSTS
                                                                                                      -
               Total to Line C 2                                                    -                 -



  C      3     TAX ADMINISTRATOR FEES & BONDS
               Bonds:
                                                                                                      -
                               Total Bond Fees Paid                                 -                 -

               Tax Administrator Fees:
                                                                                                      -
                         Total Tax Administrator Fees Paid                          -                 -

               Total to Line C 3                                                    -                 -



  C      4     INVESTMENT EXPENSES including
               BUREAU OF PUBLIC DEBT (BPD) FEES or
               COURT REGISTRY INVESTMENT SYSTEM (CRIS) FEES
               Total CRIS Fees Paid from Account Annual Total   2011              (0.02)          (0.02)
               Total CRIS Fees Paid from Account Annual Total   2012              (9.01)          (9.01)
               Total CRIS Fees Paid from Account Annual Total   2013              (6.60)          (6.60)
               Total CRIS Fees Paid from Account Annual Total   2014             (11.01)         (11.01)
               Total CRIS Fees Paid from Account Annual Total   2015              (0.66)          (0.66)
               Total CRIS Fees Paid from Account Annual Total   2016              (3.07)          (3.07)
               Total to Line C 4                                                 (30.37)         (30.37)



  C      5     FEDERAL TAX (PAYMENTS) / REFUNDS
                                                                                                      -
               Total to Line C 5                                                    -                 -




   SEC v Allen Receivership
   Court detail by account
   Exhibit B - To CFAR page 4 of 12
       Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                      Page 6 of 13 PageID 7378
Section Line   U.S. DISTRICT COURT DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND                   SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number                   -
         3     AP File No. / Case Number           3:11-CV-00882-O
               Period Covered in this Report:
         4      From                                  12/8/2011
         5      To                                    7/17/2018

                                                                             Northern District of
                                                                                   Texas
                                                                             SEC v Allen et al
                                                                             3:11-CV-00882-O

               DESCRIPTION                                       DATE           AMOUNT              TOTAL


  C      6     DISTRICT OF COLUMBIA (DC) & STATE TAX PAYMENTS
                                                                                                            -
               Total to Line C 6                                                          -                 -

  C      7     OTHER DECREASES IN FUND BALANCE
                                                                                                            -
               Total to Line C 7                                                          -                 -



TRF            TRANSFERS BETWEEN ACCOUNTS
         1     To Plan Administrator:
               To Comerica Bank - 1444                            2/4/2015       (864,731.30)       (864,731.30)

                        Total Transfers to Plan Administrator                    (864,731.30)       (864,731.30)

         2     From Plan Administrator:
                                                                                                            -
                       Total Transfers from Plan Administrator                            -                 -

         3     To Tax Administrator:
                                                                                                            -
                        Total Transfers to Tax Administrator                              -                 -

         4     From Tax Administrator:
                                                                                                            -
                       Total Transfers from Tax Administrator                             -                 -

         5     Between Accounts Held by this Account Manager:
                                                                                                            -
                     Total Transfers Between Accounts Herein                                  -             -


               Total Transfers, Net                                              (864,731.30)       (864,731.30)




   SEC v Allen Receivership
   Court detail by account
   Exhibit B - To CFAR page 5 of 12
      Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                                Page 7 of 13 PageID 7379

Section Line   U.S. DISTRICT COURT DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS to,
  A            DISTRIBUTION FUND                   SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number
         3     AP File No. I Case Number                      3:11-CV-00882-O
               Period Covered in this Report:
         4      From                                             12/8/2011
         5      To                                               7/17/2018

                                                                                   Northern District of
                                                                                         Texas
                                                                                   SEC v Allen et al
                                                                                   3:11-CV-00882-O

               DESCRIPTION                                       DATE                AMOUNT               TOTAL



SUM            SUMMARY and RECONCILIATION to ENDING ACCOUNT BALANCES

               Total Increases                                Section B                  901 ,153.67       901 ,153.67
               Less: Total Decreases                          Section C                       (30.37)           (30.37)
               Total Transfers Between Accounts               TRF                       (864,731 .30)     (864,731 .30)

               Ending Balance                                                             36,392.00         36,392.00




  H            Prepared by:
               This exhibit has been prepared from information obtained from the Clerk of the U.S. District Court
               Northern District of Texas which we believe to be accurate and reliable. We have neither audited nor
               verified this data and offer no assurance as to its completeness.

               Miller Kaplan Arase, LLP



         2                                                                     Jude Damasco
                                                                               (printed name)


         3     Partner                                                                  8/13/2018
               (title)                                                         (date)




    SEC v Allen Receivership
    Court detail by account
    Exhibit B - To CFAR page 6 of 12
       Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                              Page 8 of 13 PageID 7380
Section Line   PLAN ADMINISTRATOR'S DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND               SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number               -
         3     AP File No. / Case Number       3:11-CV-00882-O
               Period Covered in this Report:
         4      From                             12/8/2011
         5      To                               7/17/2018
                                                                                 Comerica Bank -1444
                                                                                Michael J. Uhl Receiver

               DESCRIPTION                                         DATE              AMOUNT               TOTAL


  B      1     CONTRIBUTIONS/DEPOSITS
               Proceeds from amended Receivership order             6/22/2012             184,303.19      184,303.19
               Funds located and recovered                          5/20/2013             159,662.05      159,662.05
               Funds located and recovered                          6/11/2013              35,429.48       35,429.48
               Sale of Shell                                        4/14/2014              10,000.00       10,000.00
               Funds located and recovered                           2/4/2015             121,397.70      121,397.70
               Funds located and recovered                           2/6/2015                 656.29          656.29
               Clawback proceeds                                    2/22/2016               7,500.00        7,500.00
               Clawback proceeds                                    3/10/2016              13,875.00       13,875.00
               Sale of DBA associated with a Receivership entity    3/10/2016                 200.00          200.00
               Clawback proceeds                                     5/5/2016              12,228.00       12,228.00
               Clawback proceeds                                     9/7/2016               2,500.00        2,500.00
               Note payment                                         9/16/2016               5,000.00        5,000.00
               Note payment                                        10/11/2016               5,000.00        5,000.00
               Note payment                                        11/15/2016               5,000.00        5,000.00
               Returned note payment                               11/17/2016              (5,000.00)      (5,000.00)
               Note payment                                         12/1/2016               5,000.00        5,000.00
               Note payment                                          1/3/2017               5,000.00        5,000.00
               Note payment                                         3/24/2017               5,000.00        5,000.00
               Note payment                                         5/16/2017               5,000.00        5,000.00
               Note payment                                         6/27/2017               5,000.00        5,000.00
               Note payment                                         6/27/2017               5,000.00        5,000.00
               Note payment                                         8/14/2017               5,000.00        5,000.00
               Note payment                                         9/11/2017               5,000.00        5,000.00
               Note payment                                        10/10/2017               5,000.00        5,000.00
               Note payment                                        11/13/2017               5,000.00        5,000.00
               Note payment                                         2/12/2018               5,000.00        5,000.00
               Note payment                                         2/23/2018              10,000.00       10,000.00
               Note payment                                         3/14/2018               5,000.00        5,000.00
               Note payment                                         4/11/2018              45,000.00       45,000.00
               Note payment                                         4/12/2018              45,000.00       45,000.00
               Returned note payment                                4/12/2018             (45,000.00)     (45,000.00)
               Expense reimbursement                                5/30/2018                 650.00          650.00
                                                                                                                 -
               Total to Line B 1                                                          673,401.71      673,401.71




   SEC v Allen Receivership
   Plan Admin detail by acct
   Exhibit C - To CFAR page 7 of 12
       Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18           Page 9 of 13 PageID 7381
Section Line   PLAN ADMINISTRATOR'S DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND               SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number               -
         3     AP File No. / Case Number       3:11-CV-00882-O
               Period Covered in this Report:
         4      From                             12/8/2011
         5      To                               7/17/2018
                                                              Comerica Bank -1444
                                                             Michael J. Uhl Receiver

               DESCRIPTION                       DATE             AMOUNT               TOTAL


  B      2     INVESTMENT/INTEREST EARNINGS
                                                                                               -
               Total to Line B 2                                                -              -



  B      3     OTHER INCREASES IN FUND BALANCE
               Deposit from Receiver              5/4/2012                  156.59         156.59
                                                                                              -
               Total to Line B 3                                            156.59         156.59



  C      1     DISBURSEMENTS TO INVESTORS
               Disbursements to Investors            2015             (994,999.76)     (994,999.76)
                                                                                               -
               Total to Line C 1                                      (994,999.76)     (994,999.76)




   SEC v Allen Receivership
   Plan Admin detail by acct
   Exhibit C - To CFAR page 8 of 12
      Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                          Page 10 of 13 PageID 7382
Section Line   PLAN ADMINISTRATOR'S DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND               SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number               -
         3     AP File No. / Case Number       3:11-CV-00882-O
               Period Covered in this Report:
         4      From                             12/8/2011
         5      To                               7/17/2018
                                                                             Comerica Bank -1444
                                                                            Michael J. Uhl Receiver

               DESCRIPTION                                     DATE              AMOUNT               TOTAL


  C      2     PLAN ADMINISTRATION FEES and COSTS
               Check stock charge reimbursed to Receiver         4/4/2012                 (156.59)        (156.59)
               Freeman Resource Group, L.L.C.                   2/28/2013              (53,050.00)     (53,050.00)
               Protegga LLC                                     2/28/2013               (4,200.00)      (4,200.00)
               Deloitte Financial Advisory Services LLP          3/4/2013               (3,956.00)      (3,956.00)
               Shelburne Fischer Sheely CPA's, PC                3/5/2013               (5,812.50)      (5,812.50)
               Receiver                                          3/5/2013              (10,052.25)     (10,052.25)
               Fitzpatrick Hagood Smith & Uhl LLP                3/7/2013              (18,488.76)     (18,488.76)
               Shelburne Fischer Sheely CPA's, PC                2/5/2014              (20,892.00)     (20,892.00)
               Quilling, Selander, Lownds, Winslett & Mosier    2/10/2014               (2,040.00)      (2,040.00)
               Shelburne Fischer Sheely CPA's                  12/23/2014              (10,800.00)     (10,800.00)
               Freeman Resource Group, L.L.C.                  12/23/2014              (37,445.00)     (37,445.00)
               Receiver                                        12/23/2014               (8,308.40)      (8,308.40)
               Fitzpatrick Hagood Smith & Uhl LLP              12/30/2014              (34,560.55)     (34,560.55)
               Quilling, Selander, Lownds, Winslett & Mosier    1/13/2015               (2,490.00)      (2,490.00)
               Freeman Resource Group, L.L.C.                  12/30/2015              (17,865.00)     (17,865.00)
               Fitzpatrick Hagood Smith & Uhl LLP              12/31/2015              (11,950.60)     (11,950.60)
               Shelburne Fischer Sheely CPA's, PC                1/4/2016              (14,468.50)     (14,468.50)
               Receiver                                          1/7/2016              (19,571.50)     (19,571.50)
               Freeman Resource Group, L.L.C.                   9/21/2016              (17,102.50)     (17,102.50)
               Shelburne Fischer Sheely CPA's, PC               9/22/2016              (10,100.00)     (10,100.00)
               Fitzpatrick Hagood Smith & Uhl LLP               9/29/2016              (10,805.69)     (10,805.69)
               Receiver                                         9/29/2016               (9,675.25)      (9,675.25)
               Fitzpatrick Hagood Smith & Uhl LLP              12/22/2017               (7,705.03)      (7,705.03)
               Freeman Resource Group, L.L.C.                  12/22/2017               (7,775.00)      (7,775.00)
               Receiver                                        12/22/2017               (5,590.00)      (5,590.00)
               Miller Kaplan Arase LLP                         12/27/2017               (6,274.25)      (6,274.25)
               Shelburne Fischer Sheely CPA's, PC              12/28/2017               (1,095.00)      (1,095.00)
                                                                                                              -
               Total to Line C 2                                                     (352,230.37)     (352,230.37)




   SEC v Allen Receivership
   Plan Admin detail by acct
   Exhibit C - To CFAR page 9 of 12
      Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                      Page 11 of 13 PageID 7383
Section Line   PLAN ADMINISTRATOR'S DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND               SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number               -
         3     AP File No. / Case Number       3:11-CV-00882-O
               Period Covered in this Report:
         4      From                             12/8/2011
         5      To                               7/17/2018
                                                                         Comerica Bank -1444
                                                                        Michael J. Uhl Receiver

               DESCRIPTION                                  DATE             AMOUNT               TOTAL


  C      3     TAX ADMINISTRATOR FEES & BONDS
               Bonds:
                                                                                                          -
                             Total Bond Fees Paid                                          -              -

               Tax Administrator Fees:
                                                                                                          -
                        Total Tax Administrator Fees Paid                                  -              -

               Total to Line C 3                                                           -              -



  C      4     INVESTMENT EXPENSES including
               BUREAU OF PUBLIC DEBT (BPD) FEES or
               COURT REGISTRY INVESTMENT SYSTEM (CRIS) FEES
                                                                                                          -
               Total to Line C 4                                                           -              -



  C      5     FEDERAL TAX (PAYMENTS) / REFUNDS


               Total to Line C 5                                                           -              -



  C      6     DISTRICT OF COLUMBIA (DC) & STATE TAX PAYMENTS
                                                                                                          -
               Total to Line C 6                                                           -              -



  C      7     OTHER DECREASES IN FUND BALANCE
               Harland Clarke check order fee                4/9/2018                   (82.91)      (82.91)
               Harland Clarke check order fee returned       5/8/2018                    82.91        82.91
                                                                                                        -
               Total to Line C 7                                                           -            -




   SEC v Allen Receivership
   Plan Admin detail by acct
   Exhibit C - To CFAR page 10 of 12
      Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                          Page 12 of 13 PageID 7384
Section Line   PLAN ADMINISTRATOR'S DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND               SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number               -
         3     AP File No. / Case Number       3:11-CV-00882-O
               Period Covered in this Report:
         4      From                             12/8/2011
         5      To                               7/17/2018
                                                                             Comerica Bank -1444
                                                                            Michael J. Uhl Receiver

               DESCRIPTION                                      DATE             AMOUNT               TOTAL


TRF            TRANSFERS BETWEEN ACCOUNTS
         1     To Plan Administrator:
                                                                                                              -
                      Total Transfers to Plan Administrator                                    -              -

         2     From Plan Administrator:
                                                                                                              -
                     Total Transfers from Plan Administrator                                   -              -

         3     To Tax Administrator:
                      Total Transfers to Tax Administrator                                     -              -

         4     From Tax Administrator:
                                                                                                              -
                     Total Transfers from Tax Administrator                                    -              -

         5     Between Accounts Held by this Account Manager:
                                                                                                              -
                   Total Transfers Between Accounts Herein                                      -             -

         6     To Court:
                                                                                                              -
                                                                                                              -
                            Total Transfers to Court                                           -              -

         7     From Court:
               Transfer from SEC                                 2/4/2015             864,731.30      864,731.30
                                                                                                             -
                           Total Transfers from Court                                 864,731.30      864,731.30


               Total Transfers, Net                                                   864,731.30      864,731.30




   SEC v Allen Receivership
   Plan Admin detail by acct
   Exhibit C - To CFAR page 11 of 12
      Case 3:11-cv-00882-O Document 356-1 Filed 08/31/18                          Page 13 of 13 PageID 7385
Section Line   PLAN ADMINISTRATOR'S DETAIL by ACCOUNT for
               CONSOLIDATED FINAL ACCOUNTING REPORT on the CASH BASIS for
  A      1     DISTRIBUTION FUND               SEC V ALLEN RECEIVERSHIP
         2     SEC Action Number               -
         3     AP File No. / Case Number       3:11-CV-00882-O
               Period Covered in this Report:
         4      From                             12/8/2011
         5      To                               7/17/2018
                                                                           Comerica Bank -1444
                                                                          Michael J. Uhl Receiver

               DESCRIPTION                                      DATE              AMOUNT                TOTAL



SUM            SUMMARY and RECONCILIATION to ENDING ACCOUNT BALANCES

               Total Increases                               Section B               673,558.30          673,558.30
               Less: Total Decreases                         Section C            (1,347,230.13)      (1,347,230.13)
               Total Transfers Between Accounts              TRF                     864,731.30          864,731.30

               Ending Balance                                                        191,059.47          191,059.47




  E            Fund Information:      Tranches from Inception
                                              Distributions
                                                  # Issued    Date           Gross Payments         Net Distributed
                                                                                                                  -
                                                                                                                  -
                                                                                                                  -


                                                     Total                                   -                   -




  H            Prepared by:

         1
               (fund administrator)


         2
               (signature)                                               (printed name)


         3
               (title)                                                   (date)




   SEC v Allen Receivership
   Plan Admin detail by acct
   Exhibit C - To CFAR page 12 of 12
